            Case 1:18-cv-01091-RP Document 73 Filed 03/26/19 Page 1 of 2



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

BAHIA AMAWI,                                          §
                                                      §
                 Plaintiff,                           §
                                                      §
v.                                                    §                   1:18-CV-1091-RP
                                                      §
PFLUGERVILLE INDEPENDENT                              §
SCHOOL DISTRICT, et al.,                              §                   Consolidated with:
                                                      §                   1:18-CV-1100-RP
                 Defendants.                          §

                                                    ORDER

        Before the Court is a motion to continue by Defendants Trustees of the Klein Independent

School District and Trustees of the Lewisville Independent School District (“Defendants”), (Dkt.

65), and responsive briefing, (Dkts. 71, 72). Having reviewed the parties’ submissions, the record,

and applicable law, the Court will deny the motion.

        Defendants request that the hearing in this matter set for March 29, 2019, be continued to

May 28, 2019, because, Defendants aver, current legislation pending in the Texas Legislature will

render this litigation moot. (Mot., Dkt. 65, at 2, 4). Plaintiffs in this case are sole proprietors. The

pending legislation, as currently written, will amend Chapter 2270 of the Texas Government Code

(the “Act”) to exclude sole proprietors from the Act’s requirements. (Id. at 3). Plaintiffs argue that

the text of the proposed bills is not final and that whether the bills would moot this case is “mere

speculation.” (Resp., Dkt. 71, at 2). Meanwhile, Plaintiffs “continue to suffer lost income and

opportunities” because “[e]ach day that goes by is another day that Plaintiffs cannot work or enter

into contracts with State entities.” (Id. at 4). Thus, “[a]ny inconvenience that the parties and judicial

economy may theoretically suffer if [the proposed bills] are ultimately enacted does not outweigh

Plaintiffs’ real and continuing injuries.” (Id.).



                                                      1
           Case 1:18-cv-01091-RP Document 73 Filed 03/26/19 Page 2 of 2



        The Court agrees with Plaintiffs. Defendants assert that the proposed bills are “popular” and

therefore likely to pass, (Reply, Dkt. 72, at 2), but this optimism is speculation. It is unclear whether

the bills will pass, and if they do, what final form they will take. And, even if they will pass, the Fifth

Circuit has recognized that “the loss of First Amendment freedoms for even minimal periods of time

constitutes irreparable injury.” Texas for Free Enter. v. Texas Ethics Comm’n, 732 F.3d 535, 539 (5th Cir.

2013) (emphasis added). The fact that legislation may moot a First Amendment challenge does not

negate the real harms a plaintiff allegedly experiences now. To conclude otherwise would allow the

Government to allegedly violate constitutional rights indefinitely on the promise that they may pass

legislation ceasing their violation of those rights. Particularly where First Amendment violations are

alleged, this result is impermissible. See Zwickler v. Koota, 389 U.S. 241, 252 (1967) (prolonged

resolution of a facial First Amendment challenge “might itself effect the impermissible chilling of

the very constitutional right” sought to be protected).

        Accordingly, IT IS ORDERED that Defendants’ Motion to Continue the hearing set for

March 29, 2019, (Dkt.65), is DENIED.

        SIGNED on March 26, 2019.

                                                _____________________________________
                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE




                                                     2
